Case 3:17-cv-01214-MMA-NLS Document 18 Filed 01/08/18 PageID.72 Page 1 of 3



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10 L&M TIRE, INC.

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                           UNITED STATES DISTRICT COURT
14
                         SOUTHERN DISTRICT OF CALIFORNIA
15
                                  SAN DIEGO COURTHOUSE
16

17
     DORI FREDERICK                              )   Civil Action No. 3:17-cv-01214-
18                                Plaintiff,     )
                                                 )   MMA-NLS
19         vs.                                   )
                                                 )   JOINT MOTION FOR
20 L&M TIRE, Inc. doing business as              )   DISMISSAL OF DEFENDANT
     EXPRESS TIRE, a California                  )
21 corporation; TEMPOE FINANCIAL,                )   L&M TIRE, INC. WITH
     LLC a Delaware limited liability            )   PREJUDICE PURSUANT TO
22 company; and DOES 1 through 10,               )   FEDERAL RULE OF CIVIL
     Inclusive,                                  )
23                                               )   PROCEDURE 41(a)(2)
                               Defendant(s).     )
24                                               )
                                                 )
25                                               )
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27 ________________________________

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     JOINT MOTION FOR VOLUNTARY DISMISSAL WITH PREJUDICE AS TO L&M TIRE, INC.
     FREDERICK V. L&M TIRE, INC., et al., 3:17-cv—01214-MMA-NLS
Case 3:17-cv-01214-MMA-NLS Document 18 Filed 01/08/18 PageID.73 Page 2 of 3



 1         PLEASE TAKE NOTICE that Plaintiff Dori Frederick (“Plaintiff”), pursuant
 2 to Federal Rule of Civil Procedure 41(a)(2), hereby voluntarily dismisses all claims in

 3 this action with prejudice as to all Defendants and dismisses the action in its entirety

 4 as provided below.

 5         Federal Rule of Civil Procedure 41(a)(2) provides, in relevant part:
 6         (a) Voluntary Dismissal.
 7               (2) By Court Order; Effect. Except as provided in Rule 41(a)(1), an
 8               action may be dismissed the plaintiff’s request only by court order, on
 9               terms that the court considers proper.
10         Defendant L&M Tire, Inc. and Ms. Frederick have reached a settlement in this
11 matter and as such request that the Court dismiss L&M Tire, Inc. with prejudice.

12 Each party is responsible for its own costs and fees.

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                                          By:   /s/ Rose M. Huelskamp
15 Dated: January 8, 2018                       ROSE M. HUELSKAMP
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17
                                                Huelskamp@dsmw.com
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                                                Attorneys for Defendant
19                                              L&M TIRE, INC.
20

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23
     Dated: January 8, 2018               By: /s/ Samuel Henderson
24                                            SAMUEL HENDERSON
                                              Attorneys for Plaintiff
25                                            DORI FREDERICK
                                              E-mail:
26                                            henderson@hendersonconsumerlaw.com
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                                                       2
     JOINT MOTION FOR VOLUNTARY DISMISSAL WITH PREJUDICE AS TO L&M TIRE, INC.
     FREDERICK V. L&M TIRE, INC., et al., 3:17-cv—01214-MMA-NLS
Case 3:17-cv-01214-MMA-NLS Document 18 Filed 01/08/18 PageID.74 Page 3 of 3



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 2                      CONCURRENCE OF ALL SIGNATORIES
 3         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Polices
 4 and Procedures Manual I certify that the consent of all signatories has been obtained

 5 in support of the above document.

 6

 7 DATED: January 8, 2018                         By: /s/ Rose M. Huelskamp
 8
                                                  Rose M. Huelskamp, Esq.
                                                  Attorney for Defendant
 9                                                L&M Tire, Inc.
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     JOINT MOTION FOR VOLUNTARY DISMISSAL WITH PREJUDICE AS TO L&M TIRE, INC.
     FREDERICK V. L&M TIRE, INC., et al., 3:17-cv—01214-MMA-NLS
